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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                 X
In re:
                                                                Case No.: 17-77061-las
JONATHAN M. TATUN aka
JON TATUN aka                                                   Chapter 7
JON M. TATUN dba
JONATHAN TATUN. ESQ.

                             Debtors.




                                      TRUSTEE'S APPLICATION


TO LOUIS A SCARCELLA, BANKRUPTCY JUDGE:

         The application of Richard L. Stern, Trustee, respectfully sets forth:
         1. Your applicant has been appointed trustee of the estate of Jonathan M. Tatun, the
            Debtor in this case. Applicant has qualified and is now acting as Trustee.
         2. Applicant wishes to retain Dell & Dean, PLLC as his attorney to represent him on
             behalf of the Debtor as Special Counsel.

         3. Applicant has selected Dell & Dean, PLLC as special personal injury counsel since
             this law firm was representing the Debtor prior to the filing of the Chapter 7
             proceeding and upon information and belief, this firm has an expertise with respect to
             personal injury actions.

         4. Upon information and belief, Dell & Dean, PLLC has considerable experience in
             similar actions and is well qualified to represent the applicant in that action.
         5. This case appears to require future development in the form of discovery and possible
             motion practice.

         6. The professional services which is expected to render include:
                 a: to give your applicant legal advice with respect to their opinion of the strengths
                 and weaknesses of the case;

                 b: to institute all appropriate proceedings necessary to prosecute the claims to the
                 point of the entry of judgment;
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             c: to examine the validity of alleged defenses and affirmative defenses which are

             or may be raised by the various defendants and to respond to them;

             d: to conduct examinations of the defendants and of any other witnesses who are

             familiar with or may be of assistance to the plaintiffs in the preparation of the case

             for trial;

             e; to proceed to the trial of any and all of the issues raised by the parties in the
             aforementioned action;

             f: to advise the applicant as to the relative strengths and weaknesses of the

             plaintiffs and defendant's cases and to advise as to the desirability, if any, of a
             settlement of the action;

             g: to notify the applicant of any offers of settlement and to represent the applicant
             in any negotiations and proceedings related to a resolution of the action.

     7. Upon information and belief, neither Dell & Dean, PLLC nor any of their employees or

         agents holds or represents any interest adverse to the estate of the above-named
         debtor and is a disinterested person as that term is defined by 11 U.S.C. 101(14).

     8. A copy of the retainer agreement is annexed which states that special counsel will
         receive 33 1/3 percent of sums recovered as a legal fee.

     9. There has been no compensation paid to the firm, nor has there been any promise of
         compensation.

      10. That applicant has not previously rendered professional services to the Debtor.
      WHEREFORE,the Applicant prays for authorization pursuant to 11 U.S.C. 327 to retain
Dell & Dean PLLC, as the Trustee's Special counsel in this case to represent him and for such

other and further relief which this Court may find to be just and appropriate.

Dated: Islandia, New York
       March 27, 2018
                                                       /s/ Richard L. Stern

                                                        Richard L. Stern
                                                        Chapter 7 Trustee
